Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 1 of 45 Page ID #:85


   1   C. D. Michel – SBN 144258
       cmichel@michellawyers.com
   2   Sean A. Brady – SBN 262007
       sbrady@michellawyers.com
   3   Konstadinos T. Moros – SBN 306610
       kmoros@michellawyers.com
   4   MICHEL & ASSOCIATES, P.C.
       180 E. Ocean Blvd., Suite 200
   5   Long Beach, CA 90802
       Telephone: (562) 216-4444
   6   Facsimile: (562) 216-4445
   7   Donald Kilmer-SBN 179986
       Law Offices of Donald Kilmer, APC
   8   14085 Silver Ridge Road
       Caldwell, Idaho 83607
   9   Telephone: (408) 264-8489
       Email: Don@DKLawOffice.com
  10
       Attorneys for Plaintiffs
  11
                            UNITED STATES DISTRICT COURT
  12
                          CENTRAL DISTRICT OF CALIFORNIA
  13
                                     SOUTHERN DIVISION
  14
       RENO MAY, an individual;               Case No.: 8:23-cv-01696 CJC (ADSx)
  15   ANTHONY MIRANDA, an individual;
       ERIC HANS, an individual; GARY         MEMORANDUM OF POINTS AND
  16   BRENNAN, an individual; OSCAR A.       AUTHORITIES IN SUPPORT OF
       BARRETTO, JR., an individual;          PLAINTIFFS’ MOTION FOR
  17   ISABELLE R. BARRETTO, an               PRELIMINARY INJUNCTION
       individual; BARRY BAHRAMI, an
  18   individual; PETE STEPHENSON, an        Hearing Date:     December 4, 2023
       individual; ANDREW HARMS, an           Hearing Time:     1:30 p.m.
  19   individual; JOSE FLORES, an            Courtroom:        9B
       individual; DR. SHELDON HOUGH,         Judge:            Hon. Cormac J. Carney
  20   DDS, an individual; SECOND
       AMENDMENT FOUNDATION; GUN
  21   OWNERS OF AMERICA; GUN
       OWNERS FOUNDATION; GUN
  22   OWNERS OF CALIFORNIA, INC.;
       THE LIBERAL GUN CLUB, INC.; and
  23   CALIFORNIA RIFLE & PISTOL
       ASSOCIATION, INCORPORATED,
  24
                           Plaintiffs,
  25                v.
  26   ROBERT BONTA, in his official
       capacity as Attorney General of the
  27   State of California, and DOES 1-10,
  28                       Defendants.


         MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 2 of 45 Page ID #:86


                                                  TABLE OF CONTENTS
   1                                                                                                                      Page(s)
   2   Table of Authorities ...................................................................................................iii
   3   1. Introduction and Background .................................................................................. 1
   4   2. Argument ................................................................................................................. 4
   5      A. Plaintiffs Are Likely to Succeed on the Merits .................................................. 4
   6            i. Historical analysis under the Second Amendment ....................................... 4
   7            ii. Under Bruen, the mere existence of historical analogues is not enough, as
                there must be evidence of a well-represented historical tradition.................... 6
   8
                iii. Sensitive places are narrowly defined under Bruen ................................... 8
   9
                iv. SB 2 violates the Second and Fourteenth Amendments because it is not
  10            consistent with any historical tradition of firearm regulation .......................... 9
  11            v. Federal District Courts in New York, New Jersey, and Hawaii have
                already persuasively explained why the text, history, and tradition do not
  12            allow firearm carry to be banned in several places included in SB 2 ............ 11
  13                      1. Parking Areas (including government-owned or -operated parking
                          areas under Section 26230(a)(5)) ......................................................... 12
  14
                          2. Healthcare Facilities (Section 26230(a)(7))..................................... 15
  15
                          3. Public Transportation (Section 26230(a)(8)) ................................... 15
  16
                          4. Places that Serve Liquor (Section 26230(a)(9)) .............................. 16
  17
                          5. Parks and Playgrounds (Section 26230(a)(11-13)).......................... 17
  18
                          6. Libraries (Section 26230(a)(17)) ..................................................... 21
  19
                          7. Places of Worship (Section 26230(a)(22)) ...................................... 22
  20
                          8. Financial Institutions (Section 26230(a)(23)) .................................. 23
  21
                          9. The “Vampire Rule” (Section 26230(a)(26)) .................................. 24
  22
                vi. The “vampire rule” also fails because it compels speech ......................... 26
  23
                vii. SB 2 violates due process by not providing notice as to where carry isn’t
  24            allowed ........................................................................................................... 28
  25      B. Plaintiffs Will Suffer Irreparable Harm if Denied Relief ................................. 29
  26      C. The Balancing of the Equities Sharply Favors Plaintiffs ................................. 29
  27            i. The Constitution forbids restricting protected conduct on the basis of a
                claimed “public safety” rationale ................................................................... 29
  28
                                                            ii
                                                    TABLE OF CONTENTS
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 3 of 45 Page ID #:87



   1            ii. Even if public safety interests are considered, people with carry permits
                commit crimes at a lower rate than the public at large .................................. 30
   2
          D. Preliminary Injunctive Relief Is in the Public Interest ..................................... 35
   3
       3. Conclusion ............................................................................................................. 35
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                            iii
                                                    TABLE OF CONTENTS
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 4 of 45 Page ID #:88

                                             TABLE OF AUTHORITIES
   1                                                                                                                Page(s)
   2   Cases
   3   303 Creative LLC v. Elenis,
         No. 21-476, 2023 WL 4277208 (U.S. June 30, 2023) .......................................... 27
   4
       All. for the Wild Rockies v. Cottrell,
   5     632 F.3d 1127 (9th Cir. 2011)................................................................................ 30
   6   Am. Trucking Ass’ns v. City of Los Angeles,
        559 F.3d 1046 (9th Cir. 2009) ................................................................................. 4
   7
       Antonyuk v. Hochul,
   8    No. 1:22-CV-0986 (GTS/CFH), 2022 U.S. Dist. LEXIS 201944 (N.D.N.Y.
        Nov. 7, 2022) .................................................................................................. passim
   9
       Baird v. Bonta,
  10    No. 23-15016, 2023 WL 5763345 (9th Cir. Sept. 7, 2023) .................................. 29
  11   Bonidy v. United States Postal Serv.,
        790 F.3d 1121 (10th Cir. 2015) ....................................................................... 10, 13
  12
       Carrillo v. Penn Nat’l Gaming, Inc.,
  13    172 F. Supp. 3d 1204 (D.N.M. 2016) ................................................................... 25
  14   Christian v. Nigrelli,
        No. 22-CV-695 (JLS), 2022 U.S. Dist. LEXIS 211652 (W.D.N.Y.
  15    Nov. 22, 2022) ................................................................................................. 12, 26
  16   Columbia Hous. & Redevelopment Corp. v. Braden,
        No. M2021-00329-COA-R3-CV, 2022 Tenn. App. LEXIS 395 (Oct. 13, 2022) 13
  17
       Cooper v. Aaron,
  18    358 U.S. 1 (1958) .................................................................................................. 28
  19   Drummond v. Robinson Township,
        9 F.4th 217 (3d Cir. 2021) ....................................................................................... 6
  20
       Elrod v. Burns,
  21     427 U.S. 347 (1976) .............................................................................................. 29
  22   Espinoza v. Mont. Dep’t of Revenue,
         140 S. Ct. 2246 (2020) ............................................................................................ 7
  23
       Ezell v. City of Chicago,
  24     651 F.3d 684 (7th Cir. 2011) ................................................................................. 29
  25   Ezell v. City of Chicago,
         846 F.3d 888 (7th Cir. 2017) ................................................................................. 10
  26
       Hardaway v. Nigrelli,
  27    No. 22-CV-771 (JLS), 2022 U.S. Dist. LEXIS 200813 (W.D.N.Y.
        Nov. 3, 2022) ................................................................................................... 12, 22
  28
                                                         iv
                                               TABLE OF AUTHORITIES
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 5 of 45 Page ID #:89


       Heller v. District of Columbia,
   1    670 F.3d 1244, 1274 n.6 (D.C. Cir. 2011) .............................................................. 7
   2   Klein v. City of San Clemente,
         584 F.3d 1196 (9th Cir. 2009) ............................................................................... 35
   3
       Koons v. Platkin,
   4    No. CV 22-7463 (RMB/AMD), 2023 WL 3478604 (D.N.J. May 16, 2023) passim
   5   Lambert v. California,
         355 U.S. 225 (1957) .............................................................................................. 29
   6
       Masterpiece Cakeshop, Ltd. v. Colo. Civil Rts. Comm’n,
   7    138 S. Ct. 1719 (2018) .......................................................................................... 27
   8   McDonald v. City of Chicago,
        561 U.S. 742 (2010) .............................................................................................. 29
   9
       McMahon v. City of Panama City Beach,
  10    180 F. Supp. 3d 1076 (N.D. Fla. 2016) ................................................................. 24
  11   Md. Shall Issue, Inc. v. Montgomery County,
        No. CV TDC-21-1736, 2023 WL 4373260 (D. Md. July 6, 2023) ................ 19, 20
  12
       Melendres v. Arpaio,
  13    695 F.3d 990 (9th Cir. 2012) ................................................................................. 29
  14   Monterey Mech. Co. v. Wilson,
        125 F.3d 702 (9th Cir. 1997) ................................................................................. 29
  15
       Morris v. U.S. Army Corps of Eng’rs,
  16    60 F. Supp. 3d 1120 (D. Idaho 2014).................................................................... 13
  17   N.Y. State Rifle & Pistol Ass’n v. Bruen,
         142 S. Ct. 2111 (2022) ................................................................................... passim
  18
       Oliver v. United States,
  19    466 U.S. 170 (1984) .............................................................................................. 24
  20   Pac. Gas & Elec. Co. v. Pub. Utils. Comm’n,
        475 U.S. 1 (1986) .................................................................................................. 27
  21
       Preminger v. Principi,
  22     422 F.3d 815 (9th Cir. 2005) ................................................................................. 35
  23   Project 80s v. Pocatello,
         942 F.2d 635 (9th Cir. 1991) ................................................................................. 25
  24
       Rodriguez v. Robbins,
  25    715 F.3d 1127 (9th Cir 2013) ................................................................................ 30
  26   Spencer v. Nigrelli,
         No. 22-CV-6486 (JLS), 2022 U.S. Dist. LEXIS 233341 (W.D.N.Y.
  27     Dec. 29, 2022) ................................................................................................. 12, 22
  28
                                                         v
                                               TABLE OF AUTHORITIES
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 6 of 45 Page ID #:90


       Susannah Warner Kipke, et al., v. Wes Moore, et al.,
   1     D. Md. No. 1:23-cv-01293-GLR (Dkt. No 31) ..................................................... 25
   2   United States v. Byle,
        No. 8:10-CR-419-T-30TGW, 2011 U.S. Dist. LEXIS 54220 (M.D. Fla.
   3    Apr. 15, 2011) ....................................................................................................... 24
   4   United States v. Daniels, 77 F.4th 337 (5th Cir. 2023) ............................................ 16
   5   United States v. Daniels, No. 22-60596, 2023 WL 5091317 (5th Cir.
        Aug. 9, 2023) ........................................................................................................... 8
   6
       United States v. Harrison,
   7    No. CR-22-00328, 2023 WL 1771138 (W.D. Okla. Feb. 3, 2023) ...................... 16
   8   United States v. Kokinda, 497 U.S. 720 (1990)........................................................ 14
   9   United States v. United Foods,
        533 U.S. 405 (2001) .............................................................................................. 27
  10
       Valle del Sol Inc. v. Whitting,
  11    732 F.3d 1006 (9th Cir. 2013) ............................................................................... 30
  12   Winter v. Nat. Res. Def. Council, Inc.,
        55 U.S. 7 (2008) ...................................................................................................... 4
  13
       Wolford v. Lopez,
  14    No. CV 23-00265 LEK-WRP, 2023 WL 5043805 (D. Haw. Aug. 8, 2023). passim
  15   Wooley v. Maynard,
        430 U.S. 705 (1977) ........................................................................................ 26, 27
  16
       Statutes
  17
       1859 Conn. Pub. Acts, ch. LXXXII, § 5 .................................................................. 17
  18
       1867 Kan. Sess. Laws 25 .......................................................................................... 17
  19
       Cal. Pen. Code § 26150 .............................................................................................. 1
  20
       Cal. Pen. Code § 26230 ..................................................................................... passim
  21
       Mich. Comp. Laws Serv. § 750.234d ....................................................................... 23
  22
       Neb. Rev. Stat. § 69-2441......................................................................................... 23
  23
       Senate Bill 2 ....................................................................................................... passim
  24
       Other Authorities
  25
       11A Charles Alan Wright et al., Federal Practice and Procedure § 2948.1 (2d ed.
  26     1995) ...................................................................................................................... 29
  27   Assemb. Comm. on Pub. Safety, Bill Analysis, S. 2, 2023-2024 Reg. Sess. (Cal.
        June 26, 2023),
  28
                                                            vi
                                                  TABLE OF AUTHORITIES
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 7 of 45 Page ID #:91


          <https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=202320
   1      240SB2> (select 06/26/23 – Assembly Public Safety) ......................................... 31
   2   Bernabei, Leo, Taking Aim at New York’s Concealed Carry Improvement Act, Duke
        Center for Firearms Law Blog (Aug. 7, 2023),
   3    <https://firearmslaw.duke.edu/2023/08/taking-aim-at-new-yorks-concealed-
        carry-improvement-act/> (as of Aug. 8, 2023) ..................................................... 10
   4
       Cramer, Clayton E. & David B. Kopel, “Shall Issue”: The New Wave of Concealed
   5     Handgun Permit Laws, 62 Tenn. L. Rev. 679 (1995)........................................... 32
   6   Fla. Dep’t of Agric. & Consumer Servs., Div. of Licensing, Concealed Weapon or
         Firearm License Summary Report Oct. 1, 1987- Jun. 30, 2023 (June 30, 2023),
   7     <https://ccmedia.fdacs.gov/content/download/7499/file/
         cw_monthly.pdf> .................................................................................................. 32
   8
       Floor Alert from Cal. State Sheriffs’ Ass’n to All Members of the Cal. State
   9     Assemb. (Aug. 29, 2022), <https://tinyurl.com/calstatesheriffsopposeSB918> .. 31
  10   Kopel, David & J. Greenlee, The “Sensitive Places” Doctrine, 13 Charleston L.
        Rev. 205 (2018) ........................................................................................... 9, 11, 22
  11
       Madison, James. The Writings, vol. 5 (1787-1790). G. P. Putnam’s Sons, 1904.
  12    Letter to Thomas Jefferson, October 1788 .............................................................. 2
  13   Mitchell, James T. et al., Statutes at Large of Pennsylvania from 1682 to 1801, vol.
        III (1896) ............................................................................................................... 25
  14
       Press Release, BCA Releases 2021 Permit to Carry Annual Report, Data Provided
  15     to BCA by Minnesota Law Enforcement Agencies (Mar. 1, 2022),
         <https://dps.mn.gov/divisions/ooc/news-releases/Pages/BCA-Releases-2021-
  16     Permit-to-Carry-Annual-Report.aspx> ................................................................. 34
  17   Rosenberg-Douglas, Katherine, Explore: Shootings by CCL Holders in Illinois
        Since Concealed Carry Law Went into Effect in 2014, Chic. Trib. (Mar. 1, 2020),
  18    <https://www.chicagotribune.com/news/breaking/ct-viz-illinois-ccl-shootings-
        tracker-20200227-ww4ldqwdjrd2ze63w3vzewioiy-htmlstory.html> (last visited
  19    July 12, 2023) ........................................................................................................ 33
  20   Smith, Mark W., Attention Originalists: The Second Amendment Was Adopted in
        1791, Not 1868, 24 Harvard J.L. & Pub. Pol’y Per Curiam 31 (2022)................... 7
  21
       Tex. Dep’t of Pub. Safety, Active License/Certified Instructor Counts as of Dec. 31,
  22     2020 (Dec. 31, 2020),
         <https://www.dps.texas.gov/sites/default/files/documents/rsd/ltc/reports/actlicand
  23     instr/activelicandinstr2020.pdf>............................................................................ 31
  24   Tex. Dep’t of Pub. Safety, Conviction Rates for Handgun License Holders,
         Reporting Period: 01/01/2020 – 12/31/2020, at 5 (Feb. 11, 2021),
  25     <https://www.dps.texas.gov/sites/default/files/documents/rsd/ltc/reports/convictio
         nratesreport2020.pdf> ........................................................................................... 31
  26
       U.S. Const., amend. I ................................................................................................ 25
  27
       Walters, Steven, The Legacy of Concealed Carry in Wisconsin, Urban Milwaukee
  28
                                                          vii
                                                 TABLE OF AUTHORITIES
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 8 of 45 Page ID #:92


         (Oct. 11, 2021), <https://urbanmilwaukee.com/2021/10/11/the-state-of-politics-
   1     the-legacy-of-concealed-carry-in-wisconsin/> (last visited July 12, 2023).......... 33
   2   Wis. Dep’t of Just., Department of Justice Concealed Carry Annual Report –
        175.60(19) – January 1 – December 31, 2022,
   3    <https://www.doj.state.wi.us/sites/default/files/dles/ccw/2022%20Annual%20CC
        W%20Statistical%20Report.pdf> (last visited July 12, 2023) ............................. 32
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                               viii
                                      TABLE OF AUTHORITIES
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 9 of 45 Page ID #:93


   1
       1.    INTRODUCTION AND BACKGROUND
   2
             California is defying the U.S. Supreme Court’s findings and order that the
   3
       Second Amendment includes a right to carry arms in public for self-defense. The
   4
       state has passed laws with unprecedented restrictions curtailing where that right
   5
       may be exercised. These atextual, ahistorical, and unconstitutional restrictions,
   6
       serve to constrict the right of bearing of arms in public into a mere parchment
   7
       guarantee that effectively nullifies the right. California has hijacked the Supreme
   8
       Court’s “sensitive places” dicta to impose criminal penalties on almost all instances
   9
       of the peaceable, public carry of firearms. Because California’s novel restrictions
  10
       have no basis in early American laws or traditions, they are repugnant to the
  11
       Constitution. An injunction is necessary to prevent imminent, irreparable harm to
  12
       the Second Amendment rights of the plaintiffs and other Californians impacted by
  13
       this new and unprecedented law, and to preserve the status quo in place for years.1
  14
             The individual Plaintiffs are law-abiding, adult residents of California who
  15
       have concealed carry weapons permits (“CCW permits”) issued under California
  16
       Penal Code Section 26150.2 The associational Plaintiffs3 are non-profit civil rights
  17
       organizations representing the interests of their members who have CCW permits
  18
       who are also affected by Senate Bill (“SB”) 2.4 Each of the individual Plaintiffs has
  19
       submitted declarations in support of this motion that illustrate how SB 2 will
  20
  21         1
                California state law has had some version of a concealed weapon licensing
       regime in place for nearly a century. These new breathtaking restrictions on these
  22   licenses based on location imposed by SB 2 are unprecedented in 2023 because the
       Supreme Court has only just affirmed that the right to a license is not limited to the
  23   politically privileged. That there has been a century of concealed weapon policies in
       California without SB 2’s location bans is a strong admission by California that
  24   public safety is an afterthought and that animus for the right protected is the driving
       force behind   SB 2.
  25          2
                Two of the individual Plaintiffs also run private businesses held open to the
       public, and object to being required to post signs – thus making them gatekeepers
  26   for others to exercise their right to bear arms within those places of business.
              3
                Note that associational Plaintiff the Liberal Gun Club, Inc. was erroneously
  27   mislabeled as “Liberal Gun Owners Association” in the complaint, which is an
       older name   it used.
  28          4
                Plaintiffs’ Complaint contains an in-depth review of the legislature’s
       antipathy to Bruen that inspired SB 2. See Complaint, ¶¶ 71-86.
                                                    1
         MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 10 of 45 Page ID #:94



    1   irreparably harm them. See Declarations of Individual Plaintiffs: Reno May,
    2   Anthony Miranda, Eric Hans, Gary Brennan, Oscar A. Barretto, Jr., Isabelle R.
    3   Barretto, Barry Bahrami, Pete Stephenson, Jose Flores, Andrew Harms, and Dr.
    4   Sheldon Hough. The associational Plaintiffs likewise have submitted declarations
    5   about how SB 2 irreparably harms their members and supporters with CCW
    6   permits. See Declarations of Alan Gottlieb, Sam Paredes, Erich Pratt, and Richard
    7   Minnich.
    8         A supporting declaration has also been submitted by the President of the
    9   Peace Officers Research Association of California. See Declaration of Brian
   10   Marvel. Another supporting declaration has been submitted by a member of
   11   Plaintiff CRPA about how the law affects him. See Declaration of Moris
   12   Davidovitz. Finally, Clayton Cramer, an instructor in History at the College of
   13   Western Idaho and the author of many court-cited articles on weapons regulation,
   14   has submitted an expert declaration explaining the history of concealed carry laws
   15   in California, as well as the history of “sensitive places” restrictions in the founding
   16   era. See Expert Declaration of Clayton Cramer.
   17         The Supreme Court anticipated that state actors might try to make entire
   18   urban areas “sensitive places” and preemptively quashed that sophistry with a
   19   warning. SB 2 defies that warning. See N.Y. State Rifle & Pistol Ass’n v. Bruen,
   20   142 S. Ct. 2111, 2118-19 (2022).
   21         SB 2 adds Section 26230(a) to the Penal Code. The full text was reproduced
   22   in Plaintiffs’ Complaint at ¶ 87. As described in the Complaint, the effect of SB 2 is
   23   that individual Plaintiffs and the members of the associational Plaintiffs who have
   24   CCW permits can no longer carry at nearly all of the places they frequent. Their
   25   right to self-defense in public has been reduced to what James Madison called a
   26   “parchment barrier” against the state infringing their fundamental rights.5
   27
              5
               Madison, James. The Writings, vol. 5 (1787-1790). G. P. Putnam’s Sons,
   28   1904. Letter to Thomas Jefferson, October 1788.
                                                2
          MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 11 of 45 Page ID #:95



    1         Moreover, with no signage requirement for prohibited places under SB 2,
    2   Plaintiffs have no notice that they may be violating SB 2 when they enter a property
    3   where firearms are to be prohibited. Instead, SB 2 forces business owners (two of
    4   the plaintiffs) to engage in compelled speech if they welcome customers/clients
    5   exercising Second Amendment rights into their own places of business.
    6         For the purposes of this preliminary injunction, Plaintiffs seek to enjoin the
    7   enforcement of SB 2 as to the following places, which are listed next to their
    8   corresponding subparts under Section 26230(a):
    9         (5) A building, parking area, or portion of a building under the control
              of a unit of local government, unless the firearm is being carried for
   10         purposes of training pursuant to Section 26165.
   11         (7) A building, real property, and parking area under the control of a
              public or private hospital or hospital affiliate, mental health facility,
   12         nursing home, medical office, urgent care facility, or other place at
              which medical services are customarily provided.
   13
              (8) A bus, train, or other form of transportation paid for in whole or in
   14         part with public funds, and a building, real property, or parking area
              under the control of a transportation authority supported in whole or
   15         in part with public funds.
   16         (9) A building, real property, and parking area under the control of a
              vendor or an establishment where intoxicating liquor is sold for
   17         consumption on the premises.
   18         (11) A playground or public or private youth center, as defined in
              Section 626.95, and a street or sidewalk immediately adjacent to the
   19         playground or youth center.
   20         (12) A park, athletic area, or athletic facility that is open to the public
              and a street or sidewalk immediately adjacent to those areas, provided
   21         this prohibition shall not apply to a licensee who must walk through
              such a place in order to access their residence, place of business, or
   22         vehicle.
   23         (13) Real property under the control of the Department of Parks and
              Recreation or Department of Fish and Wildlife, except those areas
   24         designated for hunting pursuant to Section 5003.1 of the Public
              Resources Code, Section 4501 of Title 14 of the California Code of
   25         Regulations, or any other designated public hunting area, public
              shooting ground, or building where firearm possession is permitted by
   26         applicable law.
   27         (17) A building, real property, or parking area under the control of a
              public library.
   28
                                      3
          MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 12 of 45 Page ID #:96


              (22) A church, synagogue, mosque, or other place of worship,
    1         including in any parking area immediately adjacent thereto, unless the
              operator of the place of worship clearly and conspicuously posts a
    2         sign at the entrance of the building or on the premises indicating that
              licenseholders are permitted to carry firearms on the property. Signs
    3         shall be of a uniform design as prescribed by the Department of
              Justice and shall be at least four inches by six inches in size.
    4
              (23) A financial institution or parking area under the control of a
    5         financial institution.
    6         (26) Any other privately owned commercial establishment that is open
              to the public, unless the operator of the establishment clearly and
    7         conspicuously posts a sign at the entrance of the building or on the
              premises indicating that licenseholders are permitted to carry firearms
    8         on the property. Signs shall be of a uniform design as prescribed by
              the Department of Justice and shall be at least four inches by six
    9         inches in size.
   10         Plaintiffs also seek to enjoin every subpart as to the “parking areas” portions.
   11   Whether the principal places described in those remaining subparts are truly
   12   sensitive places, their parking areas cannot also be sensitive based on mere spatial
   13   relationship, because banning public carry to and from a sensitive place would be
   14   an overbroad application of the limited, though legitimate, sensitive places doctrine.
   15   2.    ARGUMENT
   16         To obtain a preliminary injunction, the moving party must show: (1) a
   17   likelihood of success on the merits; (2) a likelihood of irreparable harm absent
   18   preliminary relief; (3) that the balance of equities tips in his favor; and (4) that an
   19   injunction is in the public interest. Am. Trucking Ass’ns v. City of Los Angeles, 559
   20   F.3d 1046, 1052 (9th Cir. 2009) (quoting Winter v. Nat. Res. Def. Council, Inc., 55
   21   U.S. 7, 20 (2008)).
   22         A.     Plaintiffs Are Likely to Succeed on the Merits
   23                i.       Historical analysis under the Second Amendment.
   24         Last year, the Supreme Court unequivocally reaffirmed the Heller original
   25   public meaning test for analyzing Second Amendment challenges. Applying that
   26   test, the Supreme Court found that the Second Amendment protects the right to
   27   armed self-defense in public. N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct.
   28   2111, 2127, 2134-35 (2022) (“Bruen”). The Bruen Court reiterated that courts may
                                                4
          MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 13 of 45 Page ID #:97



    1   not engage in any form of “intermediate scrutiny” or even “strict scrutiny” in
    2   Second Amendment cases. Id. at 2129.
    3         The Court made crystal-clear how a proper Second Amendment analysis is to
    4   be conducted by a reviewing court:
    5         We reiterate that the standard for applying the Second Amendment is
              as follows: When the Second Amendment’s plain text covers an
    6         individual’s conduct, the Constitution presumptively protects that
              conduct. The government must then justify its regulation by
    7         demonstrating that it is consistent with the Nation’s historical tradition
              of firearm regulation. Only then may a court conclude that the
    8         individual’s conduct falls outside the Second Amendment’s
              “unqualified command.”
    9
   10   Id. at 2126. Lest there be any confusion, the Court explained the burden that the
   11   Second Amendment imposes: “[T]he government must demonstrate that the
   12   regulation is consistent with this Nation’s historical tradition of firearm regulation.”
   13   Id. at 2126 (emphasis added); see also id. at 2127, 2130, 2149 n.25, 2150, 2156.
   14         Moreover, the government cannot simply proffer just any historical law that
   15   vaguely references firearms (which would be wholly irrelevant to the court’s
   16   analysis under the rules of evidence anyway.) Rather, when challenged laws
   17   regulate features, conduct, or circumstances that already existed at the time of the
   18   Founding, the absence of widespread historical laws restricting those same features,
   19   conduct, or circumstances indicates that the Founders understood the Second
   20   Amendment to preclude such regulation. Id. at 2131. In contrast, uniquely modern
   21   circumstances that did not exist at the time of the Founding call for an analogical
   22   analysis, based on the government’s proffered historical record. Id. at 2132.
   23         Though it is not Plaintiffs’ burden to present historical analogues, District
   24   Courts in other jurisdictions have already issued opinions striking down laws nearly
   25   identical to SB 2. Judicial resources can be preserved if California would spend its
   26   briefing opportunity distinguishing SB 2 from those cases, or presenting some new
   27   evidence of historically relevant laws that meet the straightforward questions of
   28   historical relevancy under Bruen.
                                      5
          MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 14 of 45 Page ID #:98



    1         Nearly all of the sorts of public places that SB 2 restricts which Plaintiffs
    2   seek to preliminarily existed in one form or another during the Founding era.
    3   Because similar litigation in New York, New Jersey, and Hawaii has addressed the
    4   same constitutional questions presented here, the State should not need much time
    5   to identify historical laws, as it can look at the various laws those states relied on.
    6   Those historical sources were not credible or persuasive when presented by New
    7   York, New Jersey, and Hawaii. They have not gained credibility or persuasive
    8   authority through mere repetition in this matter.
    9                ii.    Under Bruen, the mere existence of historical analogues is
                            not enough, as there must be evidence of a well-represented
   10                       historical tradition.
   11         Outliers and one-off statutes do meet the standard set by the Bruen Court. To
   12   be included as part of a proper analysis, an historical law must be a “well-
   13   established and representative historical analogue.” Id. at 2133. Courts may not
   14   uphold a modern law just because a few similar laws may be found from the past.
   15   Doing so “risk[s] endorsing outliers that our ancestors would never have accepted.”
   16   Id. (quoting Drummond v. Robinson Township, 9 F.4th 217, 226 (3d Cir. 2021).
   17         For example, in Bruen, New York presented, and the Supreme Court
   18   analyzed, three laws from the colonial era, three turn-of-the-18th-century laws,
   19   three 19th-century laws, and five late-19th-century regulations from the Western
   20   Territories. Id. at 2138-56. The Court held that all that history was not enough to
   21   uphold New York’s Sullivan Act. The Court emphasized, as it did in Heller, that it
   22   will not stake its interpretation of the Second Amendment upon historical outliers
   23   that contradict the overwhelming weight of other evidence about the right to bear
   24   arms in public for self-defense. Id. at 2153.
   25         The Court also explained that Reconstruction Era 19th-century evidence is
   26   relevant only if it provides confirmation of what had been established before:
   27   “postratification adoption or acceptance of laws that are inconsistent with the
   28
                                      6
          MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 15 of 45 Page ID #:99



    1   original meaning of the constitutional text obviously cannot overcome or alter that
    2   text.” Id. at 2137 (quoting Heller v. District of Columbia, 670 F.3d 1244, 1274 n.6
    3   (D.C. Cir. 2011) (Kavanaugh, J., dissenting)); see also Espinoza v. Mont. Dep’t of
    4   Revenue, 140 S. Ct. 2246, 2258-59 (2020) (noting that even “more than 30 States”
    5   adopting laws “in the second half of the 19th century . . . cannot by itself establish
    6   an early American tradition” because “such evidence may reinforce an early
    7   practice but cannot create one”).6
    8         Twentieth-century antecedents are even less relevant, and almost entirely (if
    9   not completely) irrelevant; the Court discussed such laws only in a brief footnote.
   10   Bruen, 142 S. Ct. at 2154 n.28. Thus, to the extent that California tries to justify
   11   SB 2 based exclusively on laws arising in the 1860’s and after, this Court is bound
   12   to reject that invitation when those laws clearly contradict the original public
   13   meaning of the text of the Second Amendment.
   14         Finally, Bruen’s observation that “unprecedented societal concerns or
   15   dramatic technological changes may require a more nuanced approach,” Id., 142 S.
   16   Ct. at 2132. This case is “fairly straightforward” because SB 2 purportedly
   17   “addresses a general societal problem that has persisted since the 18th century.” Id.
   18   at 2131. The social concern of criminals committing crimes with weapons they
   19   carry is not a 21st Century innovation. The Supreme Court made clear that the
   20   “lack of a distinctly similar historical regulation addressing that problem is relevant
   21   evidence that the challenged regulation is inconsistent with the Second
   22   Amendment.” Id. (emphasis added).
   23         Thus, even if California considers the carry of firearms a “societal problem,”
   24   it is not a new or novel problem. Nor is it a new or novel social ill that violence
   25
              6
                See also Mark W. Smith, Attention Originalists: The Second Amendment
   26   Was Adopted in 1791, Not 1868, 24 Harvard J.L. & Pub. Pol’y Per Curiam 31
        (2022) (“No Supreme Court case has ever looked to 1868 as the principal period for
   27   determining the meaning of an individual right in the Bill of Rights. If periods after
        1791 are consulted at all, it is only to confirm that subsequent authorities remained
   28   consistent with the public understanding in 1791.”).
                                                     7
          MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 16 of 45 Page ID
                                  #:100


  1   occurs in public places. Consequently, this Court should not allow California to
  2   equivocate relevant analogues with irrelevant anachronisms in an attempt to
  3   fabricate an early American tradition that has never existed.7
  4                iii.   Sensitive places are narrowly defined under Bruen.
  5         As to whether there are any special locations where the right to bear arms
  6   might be restricted without infringing Second Amendment rights, the Court
  7   explained that “the historical record yields relatively few 18th- and 19th-century
  8   ‘sensitive places’ where weapons were altogether prohibited.” Bruen, 142 S. Ct. at
  9   2133. And it cautioned that:
10          [E]xpanding the category of “sensitive places” simply to all places of
            public congregation that are not isolated from law enforcement
11          defines the category of “sensitive places” far too broadly. . . . [It]
            would in effect exempt cities from the Second Amendment and would
12          eviscerate the general right to publicly carry arms for self-defense.
13    Id. at 2134. The Bruen Court also warned that “there is no historical basis for New
14    York to effectively declare the island of Manhattan a ‘sensitive place’ simply
15    because it is crowded and protected generally by the New York City Police
16    Department.” Id. at 2118-19. Likewise, there is no basis for California to limit carry
17    to just some streets and sidewalks and a few private businesses that go to the
18    trouble (and cost) to put up signs “allowing” fellow citizens to exercise their rights.
19
20
21
22          7
              Few of the specific sensitive places at issue in this preliminary injunction
      are places that did not also exist in the past. For those that did not, the State must
23    find historical laws that restricted public carry in sufficiently similar places during
      the Founding era. See, e.g., Wolford v. Lopez, No. CV 23-00265 LEK-WRP, 2023
24    WL 5043805, at *29 (D. Haw. Aug. 8, 2023) (historical laws barring the carry of
      firearms on enclosed private plantations without permission are not relevantly
25    similar to a modern law barring carry on all private property held open to the public
      unless the owner gives permission). “What matters is whether a conceptual fit exists
26    between the old law and the new.” United States v. Daniels, No. 22-60596, 2023
      WL 5091317, at *3 (5th Cir. Aug. 9, 2023). Indeed, such laws generally were
27    aimed at preventing illegal poaching or hunting wild game (or even domesticated
      livestock) on another’s lands, a “why” (Bruen at 2133) that has no connection to SB
28    2, which bans guns in gas stations and grocery stores.
                                                   8
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 17 of 45 Page ID
                                  #:101

                   iv.    SB 2 violates the Second and Fourteenth Amendments
  1                       because it is not consistent with any historical tradition of
                          firearm regulation.
  2
            Bruen confirmed “that the Second and Fourteenth Amendments protect an
  3
      individual’s right to carry a handgun for self-defense outside the home.” Bruen, 142
  4
      S. Ct. at 2122. SB 2, meanwhile, declares that the overwhelming majority of places
  5
      that ordinary people would go in their daily lives is now a constitutional dead-zone.
  6
      SB 2’s concessions, excepting some roads and sidewalks and any private businesses
  7
      or churches that put up signs affirmatively allowing carry (so long as they do not
  8
      violate SB 2’s other restrictions on firearms that override the proprietor’s wishes,
  9
      such as Plaintiff Hough’s dental office) is not enough to satisfy the Bruen test.
10
            Indeed, sensitive places are intended to be the exception to the general rule
11
      that firearms must be permitted virtually everywhere because “the historical record
12
      yields relatively few 18th- and 19th-century ‘sensitive places’ where weapons were
13
      altogether prohibited.” Bruen, 142 S. Ct. at 2133 (emphasis added). The Bruen
14
      Court, using the historical record, actually acknowledges only three types of places
15
      where firearm carry might presumptively be foreclosed: legislative assemblies,
16
      polling places, and courthouses. Id. (citing D. Kopel & J. Greenlee, The “Sensitive
17
      Places” Doctrine, 13 Charleston L. Rev. 205, 229-236, 244-247 (2018) (“D. Kopel
18
      & J. Greenlee”)). Beyond that, the Court identified are no other well-represented
19
      examples that might possibly meet Bruen’s test.
20
            In all, under SB 2, if a Californian wants to exercise their right to carry, they
21
      now must carefully plan out exactly where they are going that day and make sure
22
      any parking lots of places they wish to visit are not shared with other businesses
23
      that serve alcohol, have athletic facilities, or fall under any of SB 2’s myriad other
24
      restrictions. SB 2 even forecloses reliance on public transportation because, SB 2
25
      bars carry on all public transportation. A walk in one’s own neighborhood must not
26
      be adjacent to another place restricted by SB 2, such as the park across the street
27
      from Plaintiff Hans’s home, Hans Decl. ¶ 10, or the playground Plaintiff Miranda
28
                                   9
       MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 18 of 45 Page ID
                                  #:102


  1   must walk by to collect his mail. Miranda Decl. ¶ 9. In other words, California
  2   apparently takes the position that only those with access to private transportation
  3   and/or those who live in gated communities should retain at least some semblance
  4   of a rights to public carry. This amounts to a camouflaged means-ends test that was
  5   forbidden by Bruen. Id., at 2127.
  6         Virtually none of SB 2’s prohibited locations is even arguably “sensitive”
  7   because, as one judge has explained, “most places are ‘sensitive’ for someone.
  8   Surely that, without more, cannot categorically justify a firearms regulation in all
  9   such places. Such a conclusion would give the government untrammeled power to
10    restrict Second Amendment rights in any place even plausibly considered
11    ‘sensitive.’” Bonidy v. United States Postal Serv., 790 F.3d 1121, 1136-37 (10th
12    Cir. 2015) (Tymkovich, J., concurring in part and dissenting in part). And while this
13    motion will discuss why specific places included in SB 2 are not sensitive, infra,
14    this Court should also consider that each of the long list of prohibited places, “when
15    considered in combination[,] . . . effectively exempt[s] cities from the
16    Amendment’s protections.”8 This aggregate effect analysis was first developed by
17    the Seventh Circuit in a challenge to the City of Chicago seeking to zone gun
18    ranges out of existence, because the “combined effect” of the various zoning rules
19    left very little of the City of Chicago available for gun ranges. Ezell v. City of
20    Chicago, 846 F.3d 888, 894 (7th Cir. 2017).
21          Under SB 2, prohibited places are the norm, and places open to the right to
22    carry are the exception. Indeed, it would have been easier for California to simply
23    list the places where citizens could carry. SB 2’s restrictions on possessing firearms
24    in places like parks, libraries, and many other similar places therefore runs afoul of
25    the Supreme Court’s warning that “expanding the category of ‘sensitive places’
26
            8
              Leo Bernabei, Taking Aim at New York’s Concealed Carry Improvement
27    Act, Duke Center for Firearms Law Blog (Aug. 7, 2023),
      <https://firearmslaw.duke.edu/2023/08/taking-aim-at-new-yorks-concealed-carry-
28    improvement-act/> (as of Aug. 8, 2023).
                                              10
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 19 of 45 Page ID
                                  #:103


  1   simply to all places of public congregation that are not isolated from law
  2   enforcement defines the category of ‘sensitive places’ far too broadly.” Bruen, 142
  3   S. Ct. at 2134.
  4         Defendants policies implicitly admit that these places are not truly
  5   “sensitive.” The Kopel & Greenlee article approvingly cited by the Supreme Court
  6   in Bruen at 2133 explains:
  7         The government’s behavior can demonstrate the true importance of
            the alleged government interest. Passing a statute declaring some
  8         place to be a “gun free zone” does nothing to deter criminals from
            entering with guns and attacking the people inside. In contrast, when a
  9         building, such as a courthouse, is protected by metal detectors and
            guards, the government shows the seriousness of the government’s
10          belief that the building is sensitive. . . . Conversely, when the
            government provides no security at all – such as in a Post Office or its
11          parking lot – the government’s behavior shows that the location is
            probably not sensitive; further, the disarmament burden inflicted on
12          citizens is not mitigated by alternative protectors supplied by the
            government.
13    D. Kopel & J. Greenlee, supra, at 290. SB 2 does nothing to actually protect the
14    places (or people in them) that the State suddenly – in 2023 -- now declares to be
15    “sensitive” and the State’s lack of security at nearly all of the locations that SB 2
16    covers confirms that Defendants do not consider them to be truly sensitive.9
17          California might have more credibility trying to justify SB 2, by mandating
18    (and paying for) metal detectors and armed security at their list of sensitive places,
19    but SB 2 would still be unconstitutional because the creation of a police state would
20    also fail to comport with founding era laws, customs, and traditions.
21
                   v.     Federal District Courts in New York, New Jersey, and
22                        Hawaii have already persuasively explained why the text,
                          history, and tradition do not allow firearm carry to be
23                        banned in several places included in SB 2.
24          District courts in New York, New Jersey, and Hawaii have already ruled on
25    near-identical questions to those presented here, as all three states enacted very
26
            9
              Of course, this is not to say that government provision of security is
27    sufficient to suddenly transform any given location into a constitutional “sensitive
      place.” “Sensitive places” are constitutional only if they survive the Second
28    Amendment’s rigorous textual and historical analysis.
                                                  11
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 20 of 45 Page ID
                                  #:104


  1   similar “sensitive places” laws designed to thwart and undermine Bruen. These
  2   rulings include Antonyuk v. Hochul, No. 1:22-CV-0986 (GTS/CFH), 2022 U.S.
  3   Dist. LEXIS 201944 (N.D.N.Y. Nov. 7, 2022);10 Hardaway v. Nigrelli, No. 22-CV-
  4   771 (JLS), 2022 U.S. Dist. LEXIS 200813 (W.D.N.Y. Nov. 3, 2022); Christian v.
  5   Nigrelli, No. 22-CV-695 (JLS), 2022 U.S. Dist. LEXIS 211652 (W.D.N.Y. Nov.
  6   22, 2022); Spencer v. Nigrelli, No. 22-CV-6486 (JLS), 2022 U.S. Dist. LEXIS
  7   233341 (W.D.N.Y. Dec. 29, 2022); Koons v. Platkin, No. CV 22-7463
  8   (RMB/AMD), 2023 WL 3478604 (D.N.J. May 16, 2023); and Wolford v. Lopez,
  9   No. CV 23-00265 LEK-WRP, 2023 WL 5043805 (D. Haw. Aug. 8, 2023).
10          This Court may consider as persuasive authority the opinions of other district
11    courts that adjudicated nearly-identical laws passed in New York, New Jersey, and
12    Hawaii. Those decisions are strongly persuasive that SB 2 is also unconstitutional.
13          SB 2’s list of “sensitive places” – similar to the restrictions in New York,
14    New Jersey, and Hawaii that were enjoined include:
15          1. Parking Areas (including government-owned or -operated parking areas
16               under Section 26230(a)(5))
17          Section 26230 bans carry in the parking areas of most of the “sensitive
18    places” it lists. This means that Plaintiffs cannot patronize or visit a place that
19    shares a parking lot with, for example, a restaurant that serves alcohol. Parking
20          10
                 The Second Circuit stayed this ruling, as well as the others in New York.
      While the Supreme Court denied emergency relief to lift the Second Circuit’s stay
21    on Judge Suddaby’s ruling in Antonyuk, Justices Alito and Thomas referred to that
      ruling as “thorough” and encouraged the plaintiffs in that matter to file again for
22    emergency relief if the Second Circuit failed to move reasonably quickly in hearing
      the appeal. Antonyuk v. Nigrelli, 143 S. Ct. 481, 481 (2023) (Alito, J., and Thomas,
23    J., concurring) (“The District Court found, in a thorough opinion, that the applicants
      were likely to succeed on a number of their claims, and it issued a preliminary
24    injunction as to twelve provisions of the challenged law.
             ...
25           I understand the Court’s denial today to reflect respect for the Second
      Circuit’s procedures in managing its own docket, rather than expressing any view
26    on the merits of the case. Applicants should not be deterred by today’s order from
      again seeking relief if the Second Circuit does not, within a reasonable time,
27    provide an explanation for its stay order or expedite consideration of the appeal.”).
      If the Second Circuit issues a ruling substantially disagreeing with its district
28    courts, Supreme Court review is thus likely.
                                                  12
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 21 of 45 Page ID
                                  #:105


  1   areas are not truly “sensitive places”, and California will not likely be able to
  2   provide any historical support for its inclusion in several sub-sections of SB 2.
  3         In a 2015 opinion Judge Tymkovich explained that “the unique
  4   characteristics supporting the regulation’s validity within the post office are far
  5   weaker in the parking lot.” Bonidy, 790 F.3d at 1129 (Tymkovich, J., concurring in
  6   part and dissenting in part). As Judge Tymkovich explained:
  7         The White House lawn, although not a building, is just as sensitive as
            the White House itself. Consequently, the presumption of lawfulness
  8         for a regulation penalizing firearm possession there might approach
            the categorical. At the spectrum’s other end[,] we might find a public
  9         park associated with no particular sensitive government interests – or
            a post office parking lot surrounding a run-of-the-mill post office.
10
11    Id. at 1137. None of the parking lots restricted by SB 2 are of the rare sort of places

12    Judge Tymkovich identified, and Plaintiffs should not have to “scout out” whether

13    their intended destination just so happens to share a parking lot with a prohibited

14    place. See also Wolford, 2023 WL 5043805, at *14. “To the extent that the

15    challenged parking areas are shared with non-government buildings, do not

16    exclusively serve the government building, and are not reserved for government

17    employees, they are generally public spaces.”

18          Nor does the State have a landlord or proprietor’s interest in the parking lots

19    it owns or operates, such as those adjacent to some public buildings and public

20    transportation hubs. Why? Because the government is not a private actor against

21    whom constitutional rights rarely apply, and there is no general power of any

22    government to restrict carry on all public property. For instance, the Tennessee

23    Court of Appeals ruled just last fall that tenants in public housing did not forfeit

24    their Second Amendment rights. Columbia Hous. & Redevelopment Corp. v.

25    Braden, No. M2021-00329-COA-R3-CV, 2022 Tenn. App. LEXIS 395, at *10

26    (Oct. 13, 2022). Similarly, the District of Idaho held, in Morris v. U.S. Army Corps

27    of Eng’rs, 60 F. Supp. 3d 1120, 1125 (D. Idaho 2014), that “[t]he regulation

28    banning the use of handguns on Corps’ property by law-abiding citizens for self-
                                              13
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 22 of 45 Page ID
                                  #:106


  1   defense purposes violates the Second Amendment.” The Antonyuk court likewise
  2   ruled that New York may not ban public carry of firearms on various types of
  3   public property, including public parks and buses. 2022 U.S. Dist. LEXIS 201944,
  4   at *190-92, *197-203. The Koons court held the same when referring to
  5   government-owned property:
  6         [T]he Second Amendment cases that the State cites do not support the
            sweeping proposition that carrying for self-defense in public does not
  7         extend to any location in which the government owns the land. In
            each of the cases cited, the courts found that the government property
  8         was integrally connected to a government building that it regarded as
            a “sensitive place” where prohibition on carrying firearms is
  9         presumptively lawful.
10    2023 WL 3478604, at *54.

11          Nor does the government being the proprietor change the analysis. “While it

12    is certainly true that ‘the government has, with respect to its own lands, the rights of

13    an ordinary proprietor, to maintain its possession and to prosecute trespassers . . .

14    [just] as a private individual’ may, the State is not exempt from recognizing the

15    protections afforded to individuals by the Constitution simply because it acts on

16    government property.” Id. at *51 (citations omitted); see also United States v.

17    Kokinda, 497 U.S. 720, 725 (1990) (“The Government, even when acting in its

18    proprietary capacity, does not enjoy absolute freedom from First Amendment

19    constraints, as does a private business . . . .”). The Wolford court also explained the

20    ramifications of what an expansive reading of the “government as proprietor”

21    argument would entail:
             If the government's capacity to act as a proprietor was a
22           determinative factor in the first step of the analysis, then the
             fundamental right of public carry – as expressed fully in Bruen –
23           would be jeopardized. Indeed, under such a theory, an argument
             could be made that the government possesses the unfettered
24           power to restrict public carrying of firearms in many – if not most
             – public places because it has a proprietary interest in those areas.
25           Whether the government acted as a proprietor may have been
             relevant when assessing Second Amendment challenges under a
26           means-end scrutiny test, but it has no place under the first step of
             the Bruen analysis.
27
      2023 WL 5043805, at *20.
28
                                   14
       MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 23 of 45 Page ID
                                  #:107


  1         2. Healthcare Facilities (Section 26230(a)(7))
  2         SB 2 stops Plaintiffs Dr. Hough and Oscar Barretto from carrying in
  3   healthcare facilities. See also Davidovitz Decl., ¶ 9 (discussing taking his
  4   grandchildren to therapy sessions). Prior to SB 2 this was not an issue. But
  5   “[H]ospitals and medical care facilities existed before and after this Nation’s
  6   founding.” Koons, 2023 WL 3478604, at *93.11 Despite the existence of medical
  7   facilities dating back to before the American Revolution, the Koons court
  8   “uncovered no laws from the 18th or 19th centuries that banned firearms at
  9   hospitals, almshouses, asylums, or other medical facilities.” Id.
10          Similarly, the Antonyuk court explained that “certainly the medical
11    profession existed in 18th and 19th century America; and certainly gun violence
12    existed in 18th and 19th century America. However, the State Defendants do not
13    cite (and the Court has been unable to yet locate) any laws from those time periods
14    prohibiting firearms in places such as ‘almshouses,’ hospitals, or physician’s
15    offices.” Antonyuk, 2022 WL 16744700, at *60. See also Cramer Decl., ¶¶ 59-60
16    (no known laws restricting carry in founding-era hospitals).
17          3. Public Transportation (Section 26230(a)(8))
18          As discussed in their respective declarations, Plaintiffs May, Stephenson, and
19    Bahrami desire to continue to carry on public transportation as they have prior to
20    SB 2. While the Supreme Court did not reach the question of public transportation
21    in its Bruen ruling, because it had “no occasion to comprehensively define
22    ‘sensitive places’ in th[at] case,” 142 S. Ct. at 2133, the Court clearly contemplated
23    the right to carry of individuals who rely on public transportation in deciding
24    Bruen. For example, during oral argument, Justice Alito described some who were
25    wrongfully denied carry permits as follows:
26
27          11
                See
      https://orb.binghamton.edu/cgi/viewcontent.cgi?article=1231&context=neha
28    (discussing the New York Hospital, “constructed between 1773 and 1775”).
                                              15
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 24 of 45 Page ID
                                  #:108

               None of these people has a criminal record. They’re all law-
  1            abiding citizens. They get off work around midnight, maybe even
               after midnight. They have to commute home by subway,
  2            maybe by bus. When they arrive at the subway station or the bus
               stop, they have to walk some distance through a high-crime area,
  3            and they apply for a license, and they say: Look, nobody has told
               – has said I am going to mug you next Thursday. However, there
  4            have been a lot of muggings in this area, and I am scared to death.
               They do not get licenses, is that right?
  5
  6   See Transcript of Oral Argument, New York State Rifle & Pistol Ass’n v. Bruen (20-

  7   843), Oyez, <https://www.oyez.org/cases/2021/20-843> (as of Aug. 31, 2022)

  8   (emphasis added). As for applicable district court rulings, the Koons court did not

  9   grant a preliminary injunction on that issue, but only because it intended to hold an

10    evidentiary hearing about whether or not security was present in the “transportation

11    hubs” where New Jersey had banned carry. As to history, New Jersey cited only a

12    single 1876 Iowa law specific to carrying guns on public transportation, which only

13    barred individuals from shooting at trains. Koons, 2023 WL 3478604, at *92

14    (citing Iowa Stat. tit. XXIV, ch. 3, § 1, p. 985 (1880) (codifying 1867 law)). As for

15    New York, even some of the historical city laws it relied on “contain a reasonable

16    exception for travel (e.g., for travel to and from work, or to and from a repair

17    shop).” Antonyuk, 2022 WL 16744700, at *70.

18          4. Places that Serve Liquor (Section 26230(a)(9))

19          All of the individual Plaintiffs desire to continue to carry in places that serve

20    alcohol, as they have prior to SB 2. To be clear, none of them intend to carry while

21    drinking or intoxicated; they simply oppose being barred from carrying in a

22    restaurant or bar even when sober. Indeed, Dr. Hough and the Barrettos never drink,

23    yet SB 2 bars them from carrying in restaurants that serve alcohol. Hough Decl., ¶

24    8; Oscar Barretto Decl., ¶ 7; Isabelle Barretto Decl., ¶ 7. If California had chosen

25    merely to ban carrying while intoxicated in public, it might have found some

26    support in the historical record. See, e.g., United States v. Daniels, 77 F.4th 337,

27    346 (5th Cir. 2023); United States v. Harrison, No. CR-22-00328, 2023 WL

28    1771138, at *7 (W.D. Okla. Feb. 3, 2023) (both discussing mid-to-late 19th-century
                                              16
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 25 of 45 Page ID
                                  #:109


  1   prohibitions on carrying a firearm while intoxicated). But under SB 2, even those
  2   who never drink will still be prohibited from taking their families out to dinner
  3   (while carrying) at a restaurant that also happens to serve beer and wine. There is
  4   no historical basis for such a prohibition.
  5         Striking down a similar ban, the Antonyuk court said of New York’s similar
  6   law that it “did not criminalize becoming intoxicated while carrying a firearm. It
  7   criminalized a license holder’s mere presence at an establishment licensed for the
  8   on-premises consumption of alcohol while carrying concealed – regardless of
  9   whether he or she is consuming alcohol there.” 2022 WL 16744700, at *72.
10          For its part, New Jersey relied on a historical law barring the possession of
11    pistols by intoxicated persons, 1867 Kan. Sess. Laws 25, and a law barring the sale
12    of alcohol near a military encampment. 1859 Conn. Pub. Acts, ch. LXXXII, § 5, at
13    62. Neither affected the carry rights of people who were not intoxicated. New
14    Jersey also cited a lone law from the Oklahoma territory that banned firearms from
15    places where liquor was sold, but the Koons court rightly noted that the law was an
16    outlier, concluding that “the State has not shown that well-established and
17    representative historical firearm laws support Chapter 131’s handgun ban at bars
18    and restaurants that serve alcohol.” 2023 WL 3478604, at *86. And in Hawaii, the
19    Wolford court agreed in analyzing similar laws presented by the state, writing that:
20         Although this Court declines to make a finding as to whether those
           laws conclusively establish a national historical tradition of regulating
21         intoxicated individuals from carrying firearms, even if such a
           conclusion were assumed, [Hawaii’s law] is broader than those laws.
22         [It] prohibits people from carrying firearms in bars and restaurants
           that serve alcohol. It includes individuals carrying in those
23         establishments regardless of whether they are consuming alcohol. . . .
           Those laws, therefore, do not show a national historical tradition of
24         regulating people from carrying firearms in establishments serving
           alcohol irrespective of whether the individual carrying is consuming
25         alcohol.
            2023 WL 5043805, at *18 (emphasis in original). See also Cramer Decl.,
26
      ¶¶61-67. SB 2 fails for the same reasons.
27
            5. Parks and Playgrounds (Section 26230(a)(11-13))
28
                                    17
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 26 of 45 Page ID
                                  #:110


  1         Plaintiffs May, Brennan, Harms, Bahrami, Miranda, Stephenson, and Hans
  2   desire to continue to carry in or near parks, athletic facilities, playgrounds, or on
  3   real property under the control of the Departments of Parks and Recreations and
  4   Fish and Wildlife, as they have prior to SB 2. See also Davidovitz Decl., ¶ 9.
  5         As other courts have found, there is little historical support for barring carry
  6   in parks. In Antonyuk, for example, New York presented a handful of local laws
  7   that barred guns in city parks, but the court explained that “even if the number and
  8   geographical origins of these city laws . . . were sufficient to constitute a tradition
  9   that was established, they do not constitute a tradition that was representative of the
10    Nation.” 2022 WL 16744700, at *67. And the court noted how even that small
11    degree of historical support vanishes when applied to parks outside of cities: “at
12    most, the city laws support a historical tradition of banning firearms in public
13    parks in a city (where the population density is generally higher), not public
14    parks outside of a city (where people are generally free to roam over vast expanses
15    of mountains, lakes, streams, flora and fauna).” Id. at *66.
16          In examining New Jersey’s similar law, the Koons court concluded that “the
17    State has failed to come forward with any laws from the 18th century that
18    prohibited firearms in areas that today would be considered parks. Consistent with
19    the Koons [p]laintiffs’ findings, this [c]ourt has only uncovered colonial laws that
20    prohibited discharging firearms in areas that were the forerunners of today’s public
21    park.” Koons, 2023 WL 3478604, at *83. As to the late-19th-century laws that New
22    Jersey cited, they were not “representative of the entire nation. By 1890, those laws
23    – one state law and about 25 local ordinances – governed less than 10% of the
24    nation’s entire population and thus are unrepresentative.” Id. at *85. See also
25    Cramer Decl., ¶ 58 (no known laws restricting carry in founding-era “commons”).
26          Plaintiffs know of only one case that has arrived at the opposite conclusion,
27    which it reached by ignoring Bruen’s methodology. See Md. Shall Issue, Inc. v.
28    Montgomery County, No. CV TDC-21-1736, 2023 WL 4373260 (D. Md. July 6,
                                         18
       MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 27 of 45 Page ID
                                  #:111


  1   2023). The court there cited almost exclusively local historical regulations to
  2   uphold a ban on carrying in parks, even though Bruen contemplated an “enduring
  3   American tradition of state regulation.” Bruen, 142 S. Ct. at 2155 (emphasis
  4   added). As the court in Antonyuk discussed, these local ordinances were clearly not
  5   representative of the nation.
  6         Moreover, the Maryland Shall Issue court cited just two laws of any kind,
  7   both from around the time of the ratification of the Fourteenth Amendment, 2023
  8   WL 4373260, at *11, and none from the relevant Founding-era period of 1791,
  9   despite the fact that Maryland was one of the original ratifying states of the Second
10    Amendment. Even if the court were to disregard that there were no Founding-era
11    laws cited and focus just on the 19th century, Bruen was clear that relying on even
12    two state laws would not be enough. 142 S. Ct. at 2153. Only one law from the
13    Reconstruction era relied on in Maryland Shall Issue was a state law, and even that
14    1870 Pennsylvania law only applied to Fairmount Park, not all parks in the state.
15    The earliest state law that banned carry within state parks generally that the
16    Maryland Shall Issue court cited did not become law until 1905 in Minnesota.
17    There is simply no early historical tradition of state regulations barring that carry of
18    arms in parks, even though parks existed throughout our history.
19          Perhaps realizing this obvious deficiency in the historical record, the district
20    court in Maryland instead relied on a series of mostly local laws from the 1890s and
21    the early 20th century. Md. Shall Issue, 2023 WL 4373260, at *11. But the
22    Supreme Court did not “endorse freewheeling reliance on historical practice from
23    the mid-to-late 19th century to establish the original meaning of the Bill of Rights.”
24    Bruen, 142 S. Ct. at 2163 (Barrett, J., concurring). And it did not bother with 20th-
25    century history at all because, “[a]s with their late-19th-century evidence, the 20th-
26    century evidence presented by respondents and their amici does not provide insight
27    into the meaning of the Second Amendment when it contradicts earlier evidence.”
28    Id. at 2154 n.28. Here, the handful of late-in-time laws and local ordinances
                                                 19
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 28 of 45 Page ID
                                  #:112


  1   contradict the history of generally allowing the carrying of arms in parks.
  2         Finally, many laws and ordinances the Maryland Shall Issue court relied on
  3   were regulations enacted to protect wildlife and stop poaching, not to stop gun-
  4   related violence. Faced with yet another point that undermined the government’s
  5   position, the court invented a rule that, when there is a clear historical example of a
  6   similar regulation, “how and why” that regulation was enacted is not relevant. Md.
  7   Shall Issue, 2023 WL 4373260, at *11. This contradicts what the Supreme Court
  8   said. “[W]hen a challenged regulation addresses a general societal problem that has
  9   persisted since the 18th century, the lack of a distinctly similar historical regulation
10    addressing that problem is relevant evidence that the challenged regulation is
11    inconsistent with the Second Amendment.” Bruen, 142 S. Ct. at 2131 (emphasis
12    added). If the historical law presented did not address “that problem” but some
13    other unrelated problem, it is neither distinctly similar nor analogous. The
14    Maryland Shall Issue Court clearly did not conduct a proper Bruen analysis.
15          Moreover, the Wolford court, which ruled after Maryland Shall Issue, agreed
16    with the Antonyuk and Koons rulings and criticized Maryland Shall Issue: “[O]ut of
17    the seventeen laws the [Maryland Shall Issue] court reviewed, only one local
18    ordinance was enacted before the Fourteenth Amendment’s ratification and only
19    one state law was enacted ‘during’ the time of the Fourteenth Amendment’s
20    ratification. This Court is not convinced that there was a national historical tradition
21    of prohibiting the carrying of firearms in parks at the time of the Fourteenth
22    Amendment’s ratification.” 2023 WL 5043805, at *24.
23          SB 2’s ban on carrying in parks fails for the same reasons the New York,
24    New Jersey, and Hawaii laws did. That some parks may be run or owned by the
25    government does not change the analysis. See discussion pp. 13-15, supra.
26          In a rare instance of disagreement with Plaintiffs’ position, the Antonyuk and
27    Koons courts ruled that playgrounds (but not parks) were indeed sensitive places,
28    analogizing them to schools given that they primarily serve children. See, e.g.,
                                                20
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 29 of 45 Page ID
                                  #:113


  1   Antonyuk, 2022 WL 16744700, at *65 (“this ban also finds support in those
  2   historical analogues prohibiting firearms in schools given that, by their very nature,
  3   both places often contain children.”). But the comparison to schools misses a
  4   critical point: when children are at school, their teachers and other school staff are
  5   acting in loco parentis. Their job is to care for their students as a parent would,
  6   including keeping them safe. A playground has no metal detectors or armed
  7   security, meaning that the parents of the children retain their duty of care for their
  8   own children and should also retain the right to exercise that duty. This is a critical
  9   difference in “how” the restrictions operate.
10          Plaintiffs Harms and Bahrami want to be able to carry on playgrounds
11    specifically to be able to protect their children in the event of a criminal attack.
12    Harms Decl. ¶ 8; Bahrami Decl. ¶ 9.12 See also Davidovitz Decl., ¶ 9. If this Court
13    is inclined to agree that playgrounds are sensitive places, it should at least rule the
14    restriction unconstitutional as applied to parents or guardians of children who are
15    currently at the playground. Parents like Plaintiff Harms should have the right to
16    defend their children in unsecured areas. The Antonyuk court, while ruling that
17    playgrounds were sensitive, did at least hint at such an exception: “The Court finds
18    [historical laws prohibiting firearms in schools] to be particularly analogous here
19    given that, generally, adults (at least when they are not supervising children) do
20    not frequent playgrounds as much as children do. 2022 WL 16744700, at *65
21    (emphasis added).
22          6. Libraries (Section 26230(a)(17))
23          Plaintiffs Harms and Bahrami desire to continue to carry in public libraries.
24    Harms Decl., ¶ 8; Bahrami Decl., ¶ 10. The Koons court rejected New Jersey’s
25    argument that it could ban carry in libraries and museums just because children are
26    sometimes present in those places. “[T]he mere presence of children is not, by
27          12
              Plaintiff Miranda also challenges the playground restriction because he
      wants to be able to walk to get his mail on the streets and sidewalks adjacent to a
28    playground near his home. Miranda Decl. ¶ 9.
                                                 21
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 30 of 45 Page ID
                                  #:114


  1   itself, enough to make a certain location like a school.” Koons, 2023 WL 3478604,
  2   at *85. As for historical laws, the state could only come up with mostly territorial
  3   laws from the mid- to late-19th century, which were insufficient to establish any
  4   kind of national tradition of banning firearms at public libraries and museums. Id. at
  5   *86. Of course, the fact that the libraries may be run by the government does not
  6   change the analysis. See discussion pp. 13-15, supra.
  7         7. Places of Worship (Section 26230(a)(22))
  8         As discussed in their respective declarations, Plaintiffs Oscar and Isabelle
  9   Barretto, as well as Plaintiff Miranda, desire to continue to carry in their places of
10    worship, as they have prior to SB 2. See also Davidovitz Decl., ¶ 11. There is no
11    relevant historical tradition of restricting carry in churches. Quite the opposite is
12    true. In the Founding era, there were “statutes all over America that required
13    bringing guns into churches, and sometimes to other public assemblies.” D. Kopel
14    & J. Greenlee, supra, at 242 (emphasis added); Cramer Decl., ¶¶ 85-95; see also
15    Koons, 2023 WL 3478604, at *21 (noting that “several colonial governments
16    passed laws requiring colonists to bring arms to church”).
17          In defending its ban on carrying in churches, the laws New York cited failed
18    to “demonstrate a tradition of broadly prohibiting the public carry of commonly
19    used firearms for self-defense at all places of worship or religious observation
20    across the state.” Hardaway, 2022 WL 16646220, at *14. The laws they did cite
21    were “spasmodic enactments involving a small minority of jurisdictions governing
22    a small minority of population. And they were passed nearly a century after the
23    Second Amendment’s ratification in 1791.” Spencer, 2022 WL 17985966, at *12.
24    The Antonyuk court took a similar position, because the states that restricted carry
25    in churches in the 19th century only made up a small minority of the nation’s
26    population, and it too found no Founding-era history supporting such a restriction.
27
28
                                    22
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 31 of 45 Page ID
                                  #:115


  1   Antonyuk, 2022 WL 16744700, at *62. SB 2 fails on these points for the same
  2   reasons.13
  3         8. Financial Institutions (Section 26230(a)(23))
  4         As discussed in their respective declarations, Plaintiffs Brennan, Stephenson,
  5   and Hans desire to continue to carry when visiting their bank, as they have prior to
  6   SB 2. There is no historical tradition of barring the carrying of arms in banks.
  7   Banks have existed since the Founding (and long before), yet regulations on
  8   carrying arms in them at the time were utterly nonexistent.14 See also Cramer Decl.,
  9   ¶ 96 (no known laws restricting carry in founding-era banks).
10          In Wolford, realizing that historical support was barren, Hawaii attempted to
11    analogize to laws restricting carry in banks to laws restricting carry in fairs or
12    markets,15 which the court rejected as inadequate, given that banks existed at the
13    time. “The State also does not make any argument that this Court should analogize
14    to different historical regulations because banks at the time of the Second
15    Amendment’s ratification are substantially different than modern banks. Without
16
            13
                 As to places of worship, SB 2 does include a provision allowing carry only
17    when the operator “clearly and conspicuously posts a sign at the entrance of the
      building or on the premises indicating that licenseholders are permitted to carry
18    firearms on the property.” A similar provision that is applied to all private property
      generally   is discussed below, and the arguments made there apply here.
19           14
                 Even today, only two states partially restrict carrying in banks. See Mich.
      Comp. Laws Serv. § 750.234d(1) (allowing concealed carry but not open carry);
20    Neb. Rev. Stat. § 69-2441 (a) (allowing open carry but not concealed carry). To be
      sure, this does not include the recent Bruen-response bills from Hawaii, New York,
21    New Jersey, and Maryland, which include banks among many other places, and are
      facing Second Amendment challenges. Before Bruen, however, no state fully
22    banned15carry in banks.
                 And while the Wolford court did not mention it, even these historical
23    restrictions typically only applied to those carrying in a way that would frighten
      people, as was discussed in Bruen: “Respondents next direct our attention to three
24    late-18th-century and early-19th-century statutes, but each parallels the colonial
      statutes already discussed. One 1786 Virginia statute provided that ‘no man, great
25    nor small, [shall] go nor ride armed by night nor by day, in fairs or markets, or in
      other places, in terror of the Country.’
26           ...
             A by-now-familiar thread runs through these three statutes: They prohibit
27    bearing arms in a way that spreads ‘fear’ or ‘terror’ among the people.” 142 S. Ct.
      at 2144-45.
28
                                    23
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 32 of 45 Page ID
                                  #:116


  1   more, the State has not met its burden.” 2023 WL 5043805, at *25. SB 2 fails for
  2   the same reason.
  3         9. The “Vampire Rule” (Section 26230(a)(26))
  4         While SB 2’s list of sensitive places is wholly objectionable, nothing goes
  5   further in eviscerating the right to carry than Section 26230(a)(26), which
  6   proscribes carry in “[a]ny other privately owned commercial establishment that is
  7   open to the public, unless the operator of the establishment clearly and
  8   conspicuously posts a sign at the entrance of the building or on the premises
  9   indicating that license holders are permitted to carry firearms on the property.”
10    Nick-named the “vampire rule,” because the law requires that people with carry
11    permits be invited in like mythological vampires, the requirement flips the
12    traditional rule for private property on its head – especially as to businesses that
13    serve the public. This unprecedented rule affects every Plaintiff. See also
14    Davidovitz Decl., passim.
15          Usually, a private property owner who wants to exclude certain people must
16    post signs letting the public know who or what actions or items are prohibited.
17    While some spaces are so obviously private that there need not be signage to
18    announce they exclude people, such as fenced-off private property, that does not
19    apply to places of business open to the public because they are “by positive law and
20    social convention, presumed accessible to members of the public unless the owner
21    manifests his intention to exclude them.” Oliver v. United States, 466 U.S. 170, 193
22    (1984) (Marshall, J., dissenting).16
23
24          16
                See also United States v. Byle, No. 8:10-CR-419-T-30TGW, 2011 U.S.
      Dist. LEXIS 54220 (M.D. Fla. Apr. 15, 2011) (reasoning that owner’s intent to
25    exclude visitors was not apparent because gate was not locked and no “No
      Trespassing” signs were posted); McMahon v. City of Panama City Beach, 180 F.
26    Supp. 3d 1076, 1096 (N.D. Fla. 2016) (“Thunder Beach contains no barricades,
      barriers, or attendants meaningfully limiting egress and ingress. It contains no signs
27    conveying a message to the effect of ‘private event – no trespassing.’ Any person
      can choose to walk in to the event just as one could choose to walk to the same
28    location on a given weekend when an event is not being held.”).
                                                 24
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 33 of 45 Page ID
                                  #:117


  1         Moreover, while businesses open to the public have a broad right to exclude
  2   people from their establishments, Carrillo v. Penn Nat’l Gaming, Inc., 172 F. Supp.
  3   3d 1204, 1217 (D.N.M. 2016), under SB 2 the State decides who to exclude, unless
  4   the business owner publicly states otherwise. This is something that would never be
  5   acceptable in the First Amendment context. See, e.g., Project 80s v. Pocatello, 942
  6   F.2d 635, 639 (9th Cir. 1991) (“Under the Idaho Falls and Pocatello ordinances,
  7   residents who wish to receive uninvited door-to-door solicitors must post a
  8   ‘Solicitors Welcome’ sign. The government’s imposition of affirmative obligations
  9   on the residents’ first amendment rights to receive speech is not permissible.”).
10          The few historical examples of anti-poaching laws requiring permission
11    before carrying a gun onto private property did not deal with places of business
12    accessible to the public. For example, a 1721 Pennsylvania statute provided that “if
13    any person or persons shall presume . . . to carry any gun or hunt on the improved
14    or inclosed lands of any plantation other than his own, unless he have license or
15    permission from the owner of such lands or plantation . . . he shall for every such
16    offense forfeit the sum of ten shillings.” James T. Mitchell et al., Statutes at Large
17    of Pennsylvania from 1682 to 1801, vol. III, at 254 (1896). Such a restriction on
18    enclosed private lands where unauthorized hunting could be excluded is obviously
19    not analogous to a modern coffee shop or grocery store. And Plaintiffs know of no
20    relevant historical examples of laws that generally barred carrying in all businesses
21    open to the public unless the person carrying a firearm first received permission
22    from the owner. See also Cramer Decl., ¶ 98 (“There are no laws in the time period
23    requiring a positive invitation for persons carrying arms to enter a business.”).
24          All four17 district courts to examine this question so far have agreed with
25    Plaintiffs’ position. Antonyuk, 2022 WL 16744700, at *79 (“Section 5’s imposition
26    of a state-wide restriction on concealed carry on all private property that is open for
27          17
              And, just as this motion was about to be filed, a fifth ruling came in
      agreeing with these four. See Susannah Warner Kipke, et al., v. Wes Moore, et al.,
28    D. Md. No. 1:23-cv-01293-GLR (Dkt. No 31), pp. 26-31.
                                              25
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 34 of 45 Page ID
                                  #:118


  1   business to the public finds little historical precedent.”); Christian, 2022 WL
  2   17100631, at *9 (citation omitted) (“that right has always been one belonging to the
  3   private property owner – not to the State.”); Koons, 2023 WL 3478604, at *67
  4   (“The colonial hunting laws and the Default Rule are differently situated; they do
  5   not impose a comparable burden on licensed firearm carriers.”); Wolford, 2023 WL
  6   5043805, at *27 (“What [Hawaii’s law] does, and what cannot be constitutionally
  7   permitted, is remove the presumption of the right to carry a firearm on private
  8   property held open to the public.”).
  9         If private businesses want to post signs telling people with CCW permits they
10    are not welcome, they may do so, but that is based on private property principles,
11    not because the business is a “sensitive place.” What California cannot do is
12    preemptively declare all private businesses (and churches) to be sensitive places by
13    default, unless proprietors say otherwise.
14                 vi.   The “vampire rule” also fails because it compels speech.
15          In addition to violating the Second Amendment, the “Vampire Rule” also
16    violates the First Amendment. It unconstitutionally compels speech by the
17    individual Plaintiffs who are business owners. Dr. Hough Decl. ¶¶ 10-12; Flores
18    Decl. ¶¶ 6-8. These Plaintiffs want to continue to allow people who legally carry
19    concealed weapons into their businesses, as they have for years prior to SB 2. Their
20    objection is being forced to put up a sign saying so, which would involve them
21    publicly taking an unpopular position in California that will assuredly alienate some
22    of their customers regardless of what decision they make.
23          Nor should Plaintiffs be required to make this unenviable choice, because the
24    First Amendment protects them against such compelled speech. Freedom of
25    thought and expression “includes both the right to speak freely and the right to
26    refrain from speaking at all.” Wooley v. Maynard, 430 U.S. 705, 714 (1977). “Just
27    as the First Amendment may prevent the government from prohibiting speech, the
28    Amendment may prevent the government from compelling individuals to express
                                          26
       MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 35 of 45 Page ID
                                  #:119


  1   certain views.” United States v. United Foods, 533 U.S. 405, 410 (2001). Moreover,
  2   the Supreme Court “has repeatedly rejected the notion that a speaker’s profit motive
  3   gives the government a freer hand in compelling speech.” Masterpiece Cakeshop,
  4   Ltd. v. Colo. Civil Rts. Comm’n, 138 S. Ct. 1719, 1745 (2018).
  5         Even if they did not fear customer backlash, Plaintiffs object to being
  6   required to put up signs for an additional reason as well: it makes them a part of the
  7   State’s unconstitutional antigun efforts, efforts which with which they
  8   philosophically disagree. Putting up such signs grants further legitimacy to the
  9   State’s unconstitutional regime, and Plaintiffs have the right not to “be an
10    instrument for fostering public adherence” to points of view they find unacceptable.
11    Wooley, 430 U.S. at 715. Nor would putting up a disclaimer assuage this concern,
12    as the Supreme Court has decided that question too. “The Colorado Court of
13    Appeals also erred by suggesting that Phillips could simply post a disclaimer,
14    disassociating Masterpiece from any support for same-sex marriage. Again, this
15    argument would justify any law compelling speech. And again, this Court has
16    rejected it.” Masterpiece Cakeshop, 138 S. Ct. at 1745. The government may not
17    “require speakers to affirm in one breath that which they deny in the next.” Pac.
18    Gas & Elec. Co. v. Pub. Utils. Comm’n, 475 U.S. 1, 16 (1986). Just recently, the
19    Supreme Court reaffirmed that the First Amendment guards against compelled
20    speech, explaining that it does not matter “whether the government seeks to compel
21    a person to speak its message when he would prefer to remain silent or to force an
22    individual to include other ideas with his own speech that he would prefer not to
23    include.” 303 Creative LLC v. Elenis, No. 21-476, 2023 WL 4277208, at *8 (U.S.
24    June 30, 2023).
25          At least one court has agreed with Plaintiffs’ position. In discussing New
26    York’s similar provision, the Antonyuk court stated that New York’s law “appears
27    to compel Plaintiffs’ speech another way: by coercing them, as busy store owners,
28    to conspicuously speak the state’s controversial message.” Antonyuk, 2022 WL
                                                27
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 36 of 45 Page ID
                                  #:120


  1   16744700, at *83. That message is no less controversial in New York than it is in
  2   California.
  3         This “Vampire Rule” -- more than any other part of SB 2, is an affront to the
  4   Supreme Court’s instruction that there are “relatively few” “sensitive places.”
  5   Bruen, 142 S. Ct. at 2133. In defiance of the Supreme Court’s orders, SB 2 has
  6   made most businesses that people rely on in their daily lives into gun-free zones,
  7   turning the Second Amendment right to carry arms in public for self-defense on its
  8   head. But SB 2 also “[R]aises questions of the highest importance to the
  9   maintenance of our federal system of government.” Cooper v. Aaron, 358 U.S. 1, 4
10    (1958).
11          Like the revolt that inspired the unanimous Cooper decision, this case
12    “[N]ecessarily involves a claim by the Governor and Legislature of a State that
13    there is no duty on state officials to obey federal court orders resting on this Court's
14    considered interpretation of the United States Constitution.” Id at 4.
15          SB 2 does not just rest on poorly reasoned policies, or bone-headed
16    partisanship – it is defiance of the constitutional order of our republic and should
17    receive the strongest possible rebuke from this Court.
18
                    vii.   SB 2 violates due process by not providing notice as to where
19                         carry isn’t allowed.

20          To the extent the individual Plaintiffs or the members of the associational
21    Plaintiffs attempt to lawfully carry in the face of SB 2’s making so much of the
22    state off-limits for carry, they are highly likely to accidentally break the law
23    because they are unaware that they have entered a “sensitive place”. In this way, SB
24    2 also violates Plaintiffs’ and their members’ rights to due process. As the Supreme
25    Court has explained, “[e]ngrained in our concept of due process is the requirement
26    of notice. Notice is sometimes essential so that the citizen has the chance to defend
27    charges. Notice is required before property interests are disturbed, before
28    assessments are made, before penalties are assessed.” Lambert v. California, 355
                                               28
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 37 of 45 Page ID
                                  #:121


  1   U.S. 225, 228 (1957).
  2         For the reasons stated supra, Plaintiffs’ likelihood of succeeding on the
  3   merits is exceedingly high. Accordingly, they are entitled to a preliminary
  4   injunction.
  5         B.      Plaintiffs Will Suffer Irreparable Harm if Denied Relief.
  6         “It is well established that the deprivation of constitutional rights
  7   ‘unquestionably constitutes irreparable injury.’” Melendres v. Arpaio, 695 F.3d
  8   990, 1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); 11A
  9   Charles Alan Wright et al., Federal Practice and Procedure § 2948.1 (2d ed. 1995).
10    The Ninth Circuit has imported the First Amendment’s irreparable-if-only-for-a-
11    minute rule to cases involving other rights and, in doing so, has held a deprivation
12    of these rights irreparable harm per se. Monterey Mech. Co. v. Wilson, 125 F.3d
13    702, 715 (9th Cir. 1997). Most recently, the Ninth Circuit has reaffirmed the
14    importance of the likelihood of the success on the merits step, explaining that “[i]f a
15    plaintiff bringing such a [constitutional] claim shows he is likely to prevail on the
16    merits, that showing will almost always demonstrate he is suffering irreparable
17    harm as well.” Baird v. Bonta, No. 23-15016, 2023 WL 5763345, at *4 (9th Cir.
18    Sept. 7, 2023).
19          The Second Amendment should be treated no differently. See McDonald v.
20    City of Chicago, 561 U.S. 742, 780 (2010) (refusing to treat the Second
21    Amendment as a second-class right subject to different rules); see also Ezell v. City
22    of Chicago, 651 F.3d 684, 700 (7th Cir. 2011) (a deprivation of the right to arms is
23    “irreparable and ha[s] no adequate remedy at law”).
24          C.      The Balancing of the Equities Sharply Favors Plaintiffs.
25                  i.    The Constitution forbids restricting protected conduct on
                          the basis of a claimed “public safety” rationale.
26
            In contrast to Plaintiffs’ injury of being denied their Second Amendment
27
      right to carry in non-sensitive places, Defendants suffer no injury because there is
28
                                   29
       MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 38 of 45 Page ID
                                  #:122


  1   no plausible, identifiable interest that infringing Plaintiffs’ constitutional rights
  2   serves. Indeed, Defendants “cannot suffer harm from an injunction that merely ends
  3   an unlawful practice.” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir 2013);
  4   see also Valle del Sol Inc. v. Whitting, 732 F.3d 1006, 1029 (9th Cir. 2013) (“[I]t is
  5   clear that it would not be equitable . . . to allow the state . . . to violate the
  6   requirements of federal law . . . .”).
  7                 ii.    Even if public safety interests are considered, people with
                           carry permits commit crimes at a lower rate than the public
  8                        at large.
  9          As explained above, the Supreme Court has repeatedly banned interest-

10    balancing analyses in Second Amendment cases. Bruen, 142 S. Ct. at 2127. That

11    said, at the preliminary injunction stage, one of the factors for courts to consider is

12    the balance of hardships between the parties. All. for the Wild Rockies v. Cottrell,

13    632 F.3d 1127, 1137 (9th Cir. 2011). Unlike Plaintiffs, who would have their rights

14    to carry eviscerated because they could carry almost nowhere, California will face

15    no hardship whatsoever. Indeed, neither the legislature nor the Governor cited any

16    evidence that people with CCW permits (i.e., those subject to SB 2) are causing a

17    significant amount of gun-related crime. They did not because they could not; no

18    such evidence exists.18

19           Quite to the contrary, Americans with CCW permits are an extremely law-

20    abiding demographic. Last year, when California tried to pass SB 918, a law much

21    like SB 2, the California State Sheriffs’ Association opposed19 the bill largely

22    because people with CCW permits seldom commit crime, and they do not generally

23    pose a problem to law enforcement. The Association stated in a letter to the

24           18
                See also Koons, 2023 WL 3478604, at *108 (“And herein lies the problem:
      despite ample opportunity for an evidentiary hearing, the State has failed to offer
25    any evidence that law-abiding responsible citizens who carry firearms in public for
      self-defense  are responsible for an increase in gun violence.”).
26           19
                Numerous individual Sheriffs have vocally opposed it as well. Fresno
      County Sheriff John Zanoni recently released a video about how SB 2 harasses law-
27    abiding citizens with CCW permits, while doing little to stop criminals.
      <https://www.youtube.com/watch?v=HsFgY5Qqlt0> (Last accessed September 27,
28    2023).
                                                  30
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 39 of 45 Page ID
                                  #:123


  1   California State Assembly that SB 918 “greatly restricts when and where licensees
  2   may carry concealed and could severely restrict the exercising of the right [to bear
  3   arms]. . . . [I]ndividuals who go through the process to carry concealed legally are
  4   exceedingly unlikely to violate the law, yet SB 918 turns much of the state into ‘no-
  5   carry’ zones that will do nothing to foster public safety.”20 Many police
  6   organizations likewise oppose SB 2. See Complaint, ¶ 82 and Marvel Decl., passim.
  7         The evidence from other states that maintain data on crimes committed by
  8   CCW permit holders also establishes that people with CCW permits are
  9   overwhelmingly peaceable and law-abiding. For example, in 2020 (before it
10    enacted constitutional carry), Texas had 1,626,242 active concealed-carry weapon
11    license holders.21 CCW permit holders thus made up about 5.7% of the state
12    population in 2022. But according to the Texas Department of Public Safety, they
13    made up just 114 of the state’s 26,304 convictions.22 That is just 0.4334% of the
14    state’s serious crimes. Even among those few convictions, most involved no gun at
15    all. Of the ones that did, permit holders were responsible for an even smaller
16    percentage. For example, there were 1,441 convictions for aggravated assault with a
17    deadly weapon in 2020, but people with a valid CCW permit committed just 4 of
18    those – or 0.2776% of the total, again far below their 5.7% share of the population.
19          The State of Florida confirms this pattern as well. Indeed, as of June 2023,
20    the state had issued almost 5.8 million concealed weapon licenses since October 1,
21          20
                Floor Alert from Cal. State Sheriffs’ Ass’n to All Members of the Cal.
      State Assemb. (Aug. 29, 2022), <https://tinyurl.com/calstatesheriffsopposeSB918>
22    (emphasis added). This year, SB 2 was opposed by many law enforcement
      organizations for the same reasons. Assemb. Comm. on Pub. Safety, Bill Analysis,
23    S. 2, 2023-2024 Reg. Sess. (Cal. June 26, 2023),
      <https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=20232024
24    0SB2>21(select 06/26/23 – Assembly Public Safety).
                Tex. Dep’t of Pub. Safety, Active License/Certified Instructor Counts as of
25    Dec. 31, 2020, at 1 (Dec. 31, 2020),
      <https://www.dps.texas.gov/sites/default/files/documents/rsd/ltc/reports/actlicandin
26    str/activelicandinstr2020.pdf>.
             22
                Tex. Dep’t of Pub. Safety, Conviction Rates for Handgun License
27    Holders, Reporting Period: 01/01/2020 – 12/31/2020, at 5 (Feb. 11, 2021),
      <https://www.dps.texas.gov/sites/default/files/documents/rsd/ltc/reports/convictionr
28    atesreport2020.pdf>.
                                                 31
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 40 of 45 Page ID
                                  #:124


  1   1987. Of those, over 2.5 million are active.23 In that 26-year timespan, only about
  2   18,000 permits have been revoked without being reinstated, or roughly 0.3% of the
  3   total issued. Id.
  4          The modern right-to-carry movement gathered steam in Florida, though a
  5   handful of states had liberal permit-issuance policies before then. The state’s
  6   enactment of “shall-issue” permitting was met with predictions of wild west-style
  7   violence and “blood in the streets,” but none of that happened. At least one
  8   prominent opponent of the law admitted his error: Representative Ronald A. Silver
  9   stated in 1990 that “[t]here are lots of people, including myself, who thought things
10    would be a lot worse as far as that particular situation [carry reform] is concerned.
11    I’m happy to say they’re not.” Clayton E. Cramer & David B. Kopel, “Shall
12    Issue”: The New Wave of Concealed Handgun Permit Laws, 62 Tenn. L. Rev. 679,
13    692-93 (1995). John Fuller, General Counsel for the Florida Sheriffs Association,
14    added: “I haven’t seen where we have had any instance of persons with permits
15    causing violent crimes, and I’m constantly on the lookout.” Id. The Metro Dade
16    Police Department originally kept detailed records of every incident involving
17    concealed weapon licensees from enactment of the law in 1987 until August 31,
18    1992. They stopped doing so because the rarity of such incidents made the effort a
19    waste of time. Id.
20           Wisconsin has similar data. In 2022, the state issued 38,326 new permits and
21    60,838 renewals.24 While Wisconsin does not appear to consistently report the
22
             23
               Fla. Dep’t of Agric. & Consumer Servs., Div. of Licensing, Concealed
23    Weapon or Firearm License Summary Report Oct. 1, 1987- Jun. 30, 2023, at 1
      (June 30, 2023), <https://ccmedia.fdacs.gov/content/download/7499/file/
24    cw_monthly.pdf>.
            24
               Plaintiffs arrived at these numbers by subtracting the number of new or
25    renewal applications “denied” from the number of new or renewal applications
      “accepted.” For instance, the state accepted 40,306 new applications, of which
26    1,980 were denied, for a total of 38,326 new applications approved and new permits
      issued. Wis. Dep’t of Just., Department of Justice Concealed Carry Annual Report
27    – 175.60(19) – January 1 – December 31, 2022, at 1-2,
      <https://www.doj.state.wi.us/sites/default/files/dles/ccw/2022%20Annual%20CCW
28    %20Statistical%20Report.pdf> (last visited July 12, 2023).
                                                 32
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 41 of 45 Page ID
                                  #:125


  1   number of active permits, as of 2021, 458,630 total permits had been issued.25
  2   According to the 2022 report, 1,334 licenses were revoked. Wis. Dep’t of Just.,
  3   supra, at 3. Of those, 463 were revoked because the permit holder was no longer a
  4   Wisconsin resident, while another 332 were revoked because the permit holder was
  5   found to have unlawfully used a controlled substance like marijuana (but committed
  6   no other crime). Id. The remaining 539 were a mix of misdemeanor and felony
  7   crimes, involuntary commitments, and more. Id. It is unclear how many of the 539
  8   were revoked because the holder had used a firearm in furtherance of a crime – the
  9   relevant concern when it comes to fears that people will use a legally carried
10    firearm to commit a crime. In any event, what is clear is that 539 is just 0.12% of
11    458,630. Wisconsinites with CCW permits rarely commit violent crimes of any
12    kind.
13            Turning to Illinois, in 2020, the Chicago Tribune reported on all known uses
14    of a gun (shootings or threats) by the 315,000 people in the state with CCW
15    permits.26 The Tribune found just 71 incidents between 2014 and 2020. Many
16    incidents listed were not crimes, but legitimate self-defense. For instance, one of the
17    entries in the article reads:
18                 Elvis Garcia, 39, was talking outside with neighbors ages 20 and
                   27. Two men drove up and started shooting at them; all three
19                 were hit. Garcia, a CCL holder, returned fire, killing Michael
                   Portis, 17. Both Garcia and Portis died from their wounds. The
20                 second man who fired at the three neighbors later was arrested.
21            But even if all 71 incidents were crimes, that would come out to CCW permit
22    holders in Illinois having a 0.02% chance of committing a crime using a gun at any
23    point in the six-year period the Tribune examined.
24
              25
                Steven Walters, The Legacy of Concealed Carry in Wisconsin, Urban
25    Milwaukee (Oct. 11, 2021), <https://urbanmilwaukee.com/2021/10/11/the-state-of-
      politics-the-legacy-of-concealed-carry-in-wisconsin/> (last visited July 12, 2023).
26           26
                Katherine Rosenberg-Douglas, Explore: Shootings by CCL Holders in
      Illinois Since Concealed Carry Law Went into Effect in 2014, Chic. Trib. (Mar. 1,
27    2020), <https://www.chicagotribune.com/news/breaking/ct-viz-illinois-ccl-
      shootings-tracker-20200227-ww4ldqwdjrd2ze63w3vzewioiy-htmlstory.html> (last
28    visited July 12, 2023).
                                                33
         MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 42 of 45 Page ID
                                  #:126


  1         Minnesota goes a step further and identifies not just the infrequent crimes
  2   committed by permit holders, but also the proportion of crimes involving firearms.
  3   According to the Department of Public Safety, the state had 387,013 valid carry
  4   permits in 2021 – and only 40 permits were revoked that year.27 In addition, 3,863
  5   crimes were committed by people with carry permits. Press Release, supra. This
  6   sounds much larger than Texas or Florida, but that is because Minnesota greatly
  7   expands the definition of what constitutes a “crime.” Indeed, of those 3,863 crimes,
  8   more than 60% were DWIs or other traffic offenses. Id. Just over 2% of the crimes
  9   – or about 80 of them – were crimes where a firearm was used to further the crime.
10    Id. In other words, in Minnesota, only about 0.02% of people with carry permits
11    used a firearm in furtherance of a crime in 2021.
12          The Wolford court relied in part on this evidence, which some of the
13    associational Plaintiffs here presented to that court as amici, to conclude that there
14    is indeed little threat from people with CCW permits:
15               Although it is possible post-Bruen that more conceal carry
                 permits are eventually issued in Hawai’i, that alone does not
16               negate Plaintiffs’ position that the vast majority of conceal carry
                 permit holders are law-abiding. See, e.g., GOA Amicus Brief at
17               21-22 (stating that Texas in 2020 had [1,441] convictions for
18               aggravated assault with a deadly weapon but only four of those
                 convictions were people with valid concealed carry permits –
19               roughly 0.278% of the total).
20    Wolford, 2023 WL 5043805, at *32. There are probably other states with similar
21    data, but these five examples, along with the California State Sheriffs’
22    Association’s letter opposing the failed SB 918 (and the opposition to SB 2 by
23    numerous police organizations this year) make the point: even if California could
24    use “public safety” as a reason to curtail the right to carry in places that are not truly
25    sensitive (and it cannot because Bruen forbids such interest balancing), people with
26
            27
               Press Release, BCA Releases 2021 Permit to Carry Annual Report, Data
27    Provided to BCA by Minnesota Law Enforcement Agencies (Mar. 1, 2022),
      <https://dps.mn.gov/divisions/ooc/news-releases/Pages/BCA-Releases-2021-
28    Permit-to-Carry-Annual-Report.aspx>.
                                              34
       MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 43 of 45 Page ID
                                  #:127


  1   carry permits are dramatically more law-abiding than the population as a whole and
  2   are thus very unlikely to pose a criminal threat. The criminals California must
  3   worry about are already carrying illegally, and they do not bother to obtain permits.
  4   With SB 2, the State is punishing the law-abiding for going through a long legal
  5   process to exercise a constitutional right.
  6           D.    PRELIMINARY INJUNCTIVE RELIEF IS IN THE PUBLIC
  7                 INTEREST

  8           “A plaintiff's likelihood of success on the merits of a constitutional claim
  9   also tips the merged third and fourth factors decisively in his favor. Because ‘public
10    interest concerns are implicated when a constitutional right has been violated, ... all
11    citizens have a stake in upholding the Constitution,’” Baird, 2023 WL 5763345, at
12    *4 (citing Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005)).
13            When challenging government action that affects the exercise of
14    constitutional rights, “[t]he public interest . . . tip[s] sharply in favor of enjoining
15    the” law. Klein v. City of San Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009). Thus,
16    not only are Plaintiffs’ rights at stake, but so are the rights of all Californians with
17    CCW permits seeking to engage in conduct that SB 2 prohibits. Therefore,
18    injunctive relief is in the public interest. Klein, 584 F.3d at 1208.
19    3.      CONCLUSION
20            SB 2 is an unmistakable unconstitutional attempt to nullify Bruen. For the
21    aforementioned reasons, Plaintiffs respectfully request this Court to grant their
22    motion for preliminary injunction.
23            Respectfully Submitted,
24
      Dated: September 29, 2023               MICHEL & ASSOCIATES, P.C.
25
                                              /s/ C.D. Michel
26                                            C.D. Michel
                                              Counsel for Plaintiffs
27
28
                                       35
           MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 44 of 45 Page ID
                                  #:128

      Dated: September 29, 2023               LAW OFFICES OF DON KILMER
  1
                                              /s/ Don Kilmer
  2                                           Don Kilmer
                                              Counsel for Plaintiff Second Amendment
  3                                           Foundation
  4
  5
  6                     ATTESTATION OF E-FILED SIGNATURES
  7         I, C.D. Michel, am the ECF User whose ID and password are being used to
  8   file this MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
  9   PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION. In compliance
10    with Central District of California L.R. 5-4.3.4, I attest that all signatories are
11    registered CM/ECF filers and have concurred in this filing.
12    Dated: September 29, 2023                       /s/ C.D. Michel
                                                      C.D. Michel
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                    36
        MEMO. OF POINTS & AUTHORITIES IN SUPPORT OF MOT. PRELIM. INJ.
Case 8:23-cv-01696-CJC-ADS Document 13-1 Filed 09/29/23 Page 45 of 45 Page ID
                                  #:129

  1                           CERTIFICATE OF SERVICE
                        IN THE UNITED STATES DISTRICT COURT
  2                       CENTRAL DISTRICT OF CALIFORNIA
  3
      Case Name: May, et al. v. Bonta
  4   Case No.: 8:23-cv-01696 CJC (ADSx)
  5   IT IS HEREBY CERTIFIED THAT:
  6
             I, the undersigned, am a citizen of the United States and am at least eighteen
  7   years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
      Beach, California 90802.
  8
             I am not a party to the above-entitled action. I have caused service of:
  9
10    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
      PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
11
      on the following party by electronically filing the foregoing with the Clerk of the
12    District Court using its ECF System, which electronically notifies them.
13
      Robert L. Meyerhoff, Deputy Attorney General
14    California Department of Justice
      300 South Spring Street, Suite 1702
15    Los Angeles, CA 90013
      Email: Robert.Meyerhoff@doj.ca.gov
16          Attorney for Defendant
17
             I declare under penalty of perjury that the foregoing is true and correct.
18
      Executed September 29, 2023.
19
20
                                                    Laura Palmerin
21
22
23
24
25
26
27
28


                                  CERTIFICATE OF SERVICE
